August 2, 2021 Cora

The Honorable Thomas A. Varlan

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Dear Judge Varlan:

This is Carl Patton, Professor Emeritus of Physics, Colorado State University. I am a fairly
accomplished national and international leader in the field of Magnetics. I work and collaborate
with many international professors, scientists, and students. Many have become key players in
US science.

Lately, I have been involved in helping a number of colleagues and their families "under the
gun" from the Department of Justice (DOJ) and the FBI under their accelerated persecutions of
innocent Chinese and Chinese American professors and scholars under the so-called "China
Initiative." I have followed the details of the case of respected Professor Anming Hu and all the
trial proceedings. Professor Hu was a brave person to force this ridiculous case to trial. The
trial, with all the lies by the FBI people and the outrageous outbursts by the DOJ prosecutors,
must have been a great embarrassment. You certainly did the best any judge could do in
managing these proceedings. In my view, and that of many others, the final call of a "mistrial"
was a foregone conclusion. The fact that the DOJ has just decided to RETRY Professor Hu
shows their continuing intent in their un-relenting campaign to punish innocent scientists and
professors, essentially, "TO TEACH THESE CHINESE SPIES A LESSON" (as one of the
prosecutors screamed out during the trial).

We all, and especially you, have waited patiently for the DOJ to decide on it's next move. The
facts (and the DOJ) circus) are very clear. I URGE YOU, and I am sure that many others are
also urging you, TO THROW THIS CASE OUT. If necessary, Anming will, I am sure, continue
to fight. He will do this at tremendous a cost in money, time, unnecessary trauma to himself and
his family, and damage to his career. Many of us will continue to donate time and money to this
important fight for freedom and justice in our country. Unwisely, the DOJ will continue to
burden the taxpayers with the tremendous cost, likely running to a million dollars or more, to
continue to "beat this horse to death." YOU CAN STOP THIS NOW.

In their press releases on China Initiative cases, the DOJ continues to brag about how many cases
they file every day to "bring all these Chinese spies to justice" (paraphrased). There have been
many indictments but few convictions. The racial bias has been intense. There have been many
careers destroyed and families devastated. The US has lost many creative scientists as well, to
our detriment. And as you well know, these affairs are causing many good scientists to go
elsewhere, return to China (if, in fact, they are from China), or commit suicide. Sad! This is
very harmful to our country and all it stands for.

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From my understanding, many Federal Laboratories and most of our prestigious Research
Universities are STILL under great pressure from the current DOJ to "catch spies and potential
spies working on behalf of the People's Republic of China, and to teach them and others a
lesson" (also paraphrased by me). In this particular Anming Hu case, YOU NOW HAVE THE
OPPORTUNITY TO TAKE DIRECT ACTION TO HELP END THESE TRAVESTIES.
Professor Hu has DONE NOTHING WRONG, and more correctly, HAS DONE EVERYTHING
RIGHT, as a respected member of the Faculty at the University of Tennessee, and as a national
and international leader in his critical field FOR A VERY LONG TIME. He has interacted and
collaborated for many years with colleagues around the world, and has done good science and
incredible outreach for his entire professional life. He is not, and never had been anything else
but a dedicated and productive scientist in his critical field for the well being of ALL OF US.

It seems to me that in reaction to this threat, the DOJ picked Anming, a mild mannered senior
faculty member from the PRC, as vulnerable "low hanging fruit" ripe for persecution and abuse.
It is clear that the DOJ and FBI knew when they started and KNOW NOW that their case against
Dr. Hu is extremely weak and, more realistically, actually non-credible. Much of the FBI
testimony might be a real "joke," EXCEPT FOR THE LIVES IT HAS DEVASTATED. This is
why the case under your jurisdiction turned out to be such a farce. You did the best you could
do. But the DOJ has persisted. They have persecuted Dr. Hu beyond belief.

Apparently, they have now decided to continue to pursue this circus, for whatever reason none of
us can fathom. It does not serve the interests of justice, fairness, or the founding principles of the
United States of America. The ONLY reason they can have is to do their best to continue to
PUNISH THESE EVIL CHINESE SPIES AND TEACH THEM A LESSON. Even more to the
extreme, the DOJ prevailed upon the University of Tennessee at the highest levels to terminate
Professor Hu's tenured faculty position and violate one of the basic legal premises of our

country, "INNOCENT UNTIL PROVEN GUILTY." At the instigation of the DOJ, Professor

Hu continues to be under HOUSE ARREST. This also amounts to continued arbitrary and
unwarranted punishment of an innocent and prestigious scientist who has done great good for our
country. Why? Again, "TO TEACH THESE EVIL CHINESE A LESSON."

These actions of the DOJ and their intent to "CARRY ON" AT ALL COSTS are scarry and
incredulous. In the name of academic freedom, democracy, the principle of "innocent until
proven guilty," and just basic fairness, I urge you to take positive action in this matter for Dr. Hu
and all of us who love the USA and all it stands for. PLEASE THROW THIS CASE OUT
NOW. Please put an end to this DOJ/FBI travesty.

Respectfully, ae 7 4
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JL oe 7
Carl E. Patton ( _ ; [; “JN 72.
Professor Emeritus NZ

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pearng Under separate cover, I am sending
insisq YOU a copy of Wen Ho Lee's book, My
accom! Country Versus Me. This is his

'Sscet _nersonal story of his saga with the FBI
Lately, I

gun’ *-!/ and DOJ and nearly one year of

meee! Solitary confinement in prison before
rari exoneration by Federal Judge James
vain) Parker in 2000. This is the famous
west case of the Los Alamos "spy." Please
i ereeuy read it. Sadly, this kind of un-

weant., “Merican action by the FBI and DOJ
‘leu’ Continues to this day. Other victims

w Heh include Qing Wang, Xiaoxing Xi, and
mporatl Sherry Chen, among many others.
comune! YOu probably also know these cases
they fle well. Thank you for your time,

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The First-Hand Account by the Los Alamos
Scientist Who Was Falsely Accused of Being a Spy

WEN HO LEE

WITH HELEN ZIA

 

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